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                                UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA

                                      CENTRAL DIVISION


 UNITED STATES OF AMERICA,                                       3:23-CR-30024-RAL

                        Plaintiff,

                                                       OPINION AND ORDER ADOPTING
        vs.                                            REPORT AND RECOMMENDATION

 JILES WHIPPLE,

                        Defendant.



       Defendant Jiles Whipple seeks to suppress the results of a blood sample that he alleges


resulted from an unconstitutional search of his person. He also seeks to suppress statements he


made to law enforcement, claiming they were involuntary and obtained in violation of Miranda.


For the reasons explained below, Defendant's Motion to Suppress, Doc. 27, is denied.


   I. Factual Background


       In the late afternoon of May 28,2022, a silver car driven by Whipple stmck Thomas Molina

Sr.'s maroon pickup tmck in an apparent T-bone style collision at the intersection ofBIA 1 and


Firekeeper Street in Rosebud, South Dakota. ST at 7, 22. Mo Una's five-year-old son had been


riding in the bed of the pickup and was ejected and killed. Id. at 22. Rosebud Sioux Tribal Law

Enforcement Service (RSTLES) officers responded to the scene to find Molina Sr. fighting and


kicking Whipple. See Ex. 3 at 18. Rosebud Ambulance Personnel transported Whipple to the


Rosebud Hospital for medical evaluation and treatment of injuries caused by the accident and the


subsequent assault. Id. at 18; ST at 23.
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       While at the scene of the accident, tribal law enforcement learned that Whipple may have


been intoxicated while driving. RSTLES Sergeant Dusty Old Lodge informed RSTLES Special

Agent Mark Kettell that containers of alcohol were found in Whipple's vehicle. ST at 22-23.


Kettell instructed RSTLES Officer Ramon Marrufo to obtain a blood sample from Whipple. Id.

at 23. Marrufo took two new blood tubes to the Rosebud Hospital, where Whipple had been


transported, but did not stay to collect the sample or obtain Whipple's consent. Id. at 8.


       After learning that Marrufo did not stay to obtain the blood sample, Kettell went to the


hospital himself. Id at 23. When he arrived at Whipple's room to discuss the blood sample,


Whipple was being treated by a nurse. Id. Kettell identified himself as a police officer and told


WUpple that he wanted to obtain a blood sample to test for intoxicating substances like alcohol.


Id. at 24. Kettell informed Whipple that he did not have to consent to a blood test, and Whipple

consented to one anyway. Id. The nurse treating Whipple's injuries drew the blood samples. Id.


at 25. At the suppression hearing, Kettell described Whipple as alert, communicating effectively,


and willing to cooperate throughout their entire interaction. IcL at 24. The blood samples were


ultimately sent to the South Dakota Health Laboratory for testing.


       Later that evening. Sergeant Old Lodge informed the hospital that Whipple was to be held

until he could be discharged into police custody. Ex. 4 at 4. Once hospital staff informed Old


Lodge that Whipple had been cleared for discharge, RSTLES dispatched Marrufo to formally

arrest Whipple and transport him to the Rosebud Sioux Tribe Adult Correctional Facility. Id.; ST

at 12,13. At the suppression hearing, Marrufo testified that Whipple's demeanor during the arrest


and transfer appeared normal. Marrufo recalled that Whipple was alert, walking on his own, and


speaking clearly. ST at 13; Ex. 8. Marmfo observed Whipple talk with his sister, who was present


at the hospital, and other family members over the phone. ST at 13; Ex. 8.
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       The next day, Kettell interviewed Whipple at the Adult Correctional Facility. Ex. 3 at 19.


Kettell began the interview by introducing himself as a police investigator. Ex. 11 at 1. Whipple


said that he recognized Kettell from the hospital the day before. Id. Kettell then asked whether


Whipple's injuries would prevent the two of them from talking. Ex. 11 at 2-3. Whipple replied,


"No. I can talk." Id, at 3. Kettell then read Whipple the tribal advice of rights form, ST at 33-34,


which lists individually, in separate paragraphs, a defendant's Miranda rights, Ex. 6.


       After Kettell finished reading the advice of rights, Whipple, who was 18 at the time, asked

if he was "able to call [his] dad." Ex. 11 at 3. Kettell told Whipple he could not because phone


calls are left "all up to the jail," and he "[could not] offer [Whipple] any phone calls." See id at

4. Whipple responded, "I was going to — because my dad said something, he was going to try to


get a lawyer yesterday." Id. at 4. Kettell replied, "Well, ... we're at the adult jail. [I]t's purely up


to you what you do right now." Id. He asked Whipple if he had any questions about his rights.


Id. Whipple responded that he did not. Id. Kettell then asked Whipple to initial each line to show

that he understood the corresponding right, but added that Whipple should not initial it if he has a

question about the sentence. Id at 5. Whipple responded that he "[doesn't] know much about


[his] rights." Id. Kettell asked Whipple if he would like them read again. Id. Whipple responded,

"No. I can do it." Id. Whipple proceeded to initial each sentence. Id.


       Whipple conveyed an understanding of his rights and, at Kettell's request, read out loud


the waiver of rights section of the advice of rights form. Ex. 11 at 5-6. Kettell then asked if he


was "willing to talk . . . without a lawyer present." Id at 6. Whipple responded by asking, "Uh,


like can I talk to you now and then like later have a lawyer come?" Id. Kettle replied, "No. Right


now is - - we're just going to - - we can talk right now and you have a right to have a lawyer but


you don't have to. And that's totally up to you." Id. Whipple stated that he would talk and signed
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the waiver of rights. Id. at 6; Ex. 6. Throughout the interview that followed, Whipple made several


inculpatory statements, including how he had smoked a "doobie" and drank almost two full beers


plus a shot of whiskey in the hours preceding the accident. Ex. 6 at 10,12,23-25.


       A couple of months later, RSTLE received Whipple's blood test results from the South


Dakota Public Health Laboratory. Ex. 3 at 22; Ex. 4 at 1. The results indicated the presence of


2.0 ng/mL of Delta 9-THC, 50ng/mL of Carboxy THC, 12 ng/mL of morphine, and a blood

alcohol content of 0.082 %. Ex. 4 at 1-2.


       Whipple was indicted on one count of Involuntary Manslaughter for the death of the five-


year-old boy. Doc. 1. Following his indictment, Whipple moved to suppress the May 28, 2022


blood sample, as well as the statements Whipple made to Kettell during the May 29, 2022

interview. Doc. 27. Magistrate Judge Mark A. Moreno conducted a suppression hearing on


September 13,2023, and issued a Report and Recommendation, Doc. 46, recommending this Court


deny Whipple's motion. Whipple now objects to that Report and Recommendation. Doc. 47.


    II. Standard of Review


       This Court reviews a report and recommendation under the statutory standards found in 28


U.S.C. § 636(b)(l), which provides that "[a] judge of the [district] court shall make a de novo

determination of those portions of the report or specified proposed findings or recommendations


to which objection is made."


    III. Legal Analysis

       A. The Blood Draw


       Whipple objects to the Report and Recommendation's conclusion that he voluntarily


consented to the blood draw, arguing that his head injury, alcohol consumption, THC ingestion,


and medically-administered morphine made him unable to voluntarily consent to a blood draw.
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The Fourth Amendment protects "[t]he right of the people to be secure in their persons, houses,


papers, and effects, against unreasonable searches and seizures." U.S. Const. amend. IV. An


intrusion into the body to obtain a blood sample constitutes a Fourth Amendment search. Skinner


v. Ry. Lab. Executives' Ass'n, 489 U.S. 602, 616 (1989); see also Dodd v. Jones, 623 F.3d 563,


569 (8th Cir. 2010) (noting that "a search is completed upon the drawing of [] blood"). As a mle,

and subject to certain exceptions, the Fourth Amendment proscribes as unreasonable all searches


conducted without the prior approval of a judge or magistrate. Schneckloth v. Bustamonte, 412


U.S. 218, 219 (1973). One such exception, however, is valid consent by the subject of the search.


See United States v. Espinoza, 885 F.3d 516, 523 (8th Cir. 2018) ("A search conducted pursuant


to a valid consent is constitutionally permissible." (citation omitted)). "An officer with consent


needs neither a warrant nor probable cause to conduct a constitutional search." United States v.


Pennington, 287 F.3d 739, 746 f8th Cir. 2002) (quoting United States v. Jenkins, 92 F.3d 430,436

(6th Cir. 1996)).

       Consent must be voluntary to be valid. Valid consent is consent that is "freely and


voluntarily given, and not the product of implicit or explicit coercion." United States v.


Castellanos, 518 F.3d 965, 969 (8th Cir. 2008) (citation omitted). "The government bears the

burden of proving voluntary consent." United States v. Quintero, 648 F.3d 660, 667 (8th Cir.


2011) (citation omitted). "When a prosecutor seeks to rely upon consent to justify the lawfulness


of a search, he has the burden of proving that the consent was, in fact, freely and voluntarily given."


Bumper v. Norther Carolina, 391 U.S. 543, 548 (1968) (citation omitted). "In each case, the


question is one of mental awareness so that the act of consent was the consensual act of one who


knew what he was doing and had reasonable appreciation of the nature and significance of his


actions." Castellanos, 518 F.3d at 969 (citation omitted). Yet, whether consent was voluntarily
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given does not turn on a defendant's subjective state of mind. Espinoza, 885 F.3d at 523. Rather,


the issue turns on whether an "officer reasonably believed the defendant consented." Id. The


Government "only need[s] to prove that it was reasonable [for Kettell] to believe that [Whipple's]

consent was not the result of 'duress or coercion, express or implied.'" Id (quoting United States


v. Cedano-Medina, 366 F.3d 682, 688 (8th Cir. 2004)). In evaluating whether an officer's belief


was reasonable, a court must consider certain factors concerning the individual who allegedly


consented to the search:


       (1) the individual's age and mental ability; (2) whether the individual was
       intoxicated or under the influence ofdmgs; (3) whether the individual was informed
       of [his or her] Miranda rights; and (4) whether the individual was aware, through
       prior experience, of the protections that the legal system provides for suspected
       criminals.


United States v. Golinveaux, 611 F.3d 956. 959 f8th Cir. 2010) ('quotine United States v.


Arciniega, 569 F.3d 394, 398 (8th Cir. 2009)). A court should also consider factors relating to the

environment in which consent was obtained:


        (1) the length of the detention; (2) whether the police used threats, physical
        intimidation, or punishment to extract consent; (3) whether the police made
       promises or misrepresentations; (4) whether the individual was in custody or under
        arrest when consent was given; (5) whether the consent was given in public or in a
        secluded location; and (6) whether the individual stood by silently or objected to
       the search.


United States v. Dunning, 666 F.3d 1158,1165 f8th Cir. 2012) ('quoting United States v. Quintero,


648 F.3d 660, 667 (8th Cir. 2011)). Whipple's objection argues that the Report and

Recommendation overlooked his head injury and the presence of morphine in his blood in its


voluntariness analysis. Doc. 47 at 1-3.


       As to the head injury, the Report and Recommendation's analysis discusses Whipple's


head laceration, the circumstances leading to the laceration, and the fact that the laceration required


medical attention. Doc. 46 at 5-6. And as expressed in the Report and Recommendation, id., the


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evidence from the suppression hearing does not support Whipple's argument that the head injury


rendered him incapacitated and incapable of giving voluntary consent, Doc. 47 at 2-3. Contrary


to Whipple's assertion, the evidence shows he was attentive during his conversation with tribal


police, effective in his communication, and capable of making independent decisions. ST at 24-


25; see also Ex. 3 at 21 ("Jiles was awake and alert."). His hospital records document that he was


alert, oriented as to time and place, and capable of giving information and obeying multi-part


requests and commands. Ex. 5 at 3. The hospital report states, "Patient answers every question


without difficulties." Id, at 4.


        Even so, Whipple argues that his consent was not voluntary because his incapacitation was


evidenced through an alleged absence of physical stability. Whipple points to Marrufo's body

camera footage, which recorded Marrufo transferring Whipple from the hospital to the Adult


Correctional Facility. Ex. 5. In the recording, Whipple can be heard asking, "Can I lean on you?"


while walking from the hospital to Marrufo's patrol vehicle. See ST at 18-19; see also Ex. 9 at 5.


Although Whipple ultimately walked to the car without any assistance, he argues that the Report

and Recommendation should have considered this exchange as evidence ofincapacitation and the


inability to consent voluntarily. Doc. 47 at 2. Whipple's argument here is flawed in two key


respects.


        First, there is no evidence that Whipple's request to lean on Marrufo was a symptom of


impaired cognitive function. Whipple's hospital records show he suffered only minor injuries.


And there is no evidence tending to show that those minor injuries impaired his cognition such


that he could not make a free and voluntary decision to consent to the blood draw.


        Second, even ifWhipple's request to lean on Marrufo when leaving the hospital was some


evidence of an impaired ability to make a free and voluntary decision to consent, the circumstances




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still render it reasonable for Kettell to believe Whipple voluntarily gave consent. Voluntariness is


determined by considering circumstances present at the time consent is given. See generally


United States v. Quintero, 648 F.3d 660, 668 (8th Cir. 2011) (Courts are "tasked with examining

the environment in which the consent took place."). After all, Whipple's request to lean was made


to Marrufo, not Kettell, and made more than two hours after Whipple consented to the blood draw.


See generally United States v. Turner, 157 F.3d 552, 556 (8th Cir. 1998) (noting that a change in

mental condition not present when the defendant waived his rights, does not affect the validity of


the waiver).


       Whipple also objects to the Report and Recommendation's failure to mention the presence


of morphine in addition to alcohol and THC in his blood sample. Doc. 47 at 2. Though not


mentioning the presence of morphine in Whipple's blood, the Report and Recommendation


evaluated Whipple's behavior when he consented to the blood sample and his ability to consent.


Doc. 46 at 5-7. Although a factor in the voluntariness analysis is whether an individual is


intoxicated or under the influence ofdmgs, Golinveaux, 611 F.3d at 959, "the mere fact that one


has taken drugs, or is intoxicated, or mentally agitated, does not render consent involuntary,"


Castellanos, 518 F.3d at 969 (citation omitted). Notwithstanding the presence ofdmgs and alcohol

in his system, the relevant question remains whether Whipple had a "reasonable appreciation of


the nature and significance of his actions," and "whether his conduct would have caused a


reasonable person to believe that he consented." Id. at 969-70.


       After a de novo review of the evidence, this Court finds ample evidence that Whipple was


(and clearly appeared to Kettell to be) alert, communicative, and "answering] every question


without difficulties." Ex. 5 at 4. Nothing in Whipple's behavior would indicate a lack of


appreciation for the nature of his actions. ST at 24; Ex. 3 at 21; Ex. 5 at 3. To the contrary, Kettell




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told Whipple why he wanted a blood sample and infonned him that he did not have to consent to

one. ST at 24. And the next day, Whipple recalled his interaction with Kettell and remembered


consenting to the blood sample even though he did not have to. Ex. 11 at 22. Whipple voluntarily


consented to the May 28, 2022 blood draw.


       B. Fifth Amendment Miranda Rights

       The Fifth Amendment provides that "[n]o person . . . shall be compelled in any criminal


case to be a witness against himself...." U.S. Const. amend. V. To protect this right in the face


of the coercive pressures of police interrogations, the Supreme Court of the United States instituted


the Miranda warnings as a prophylactic safeguard tailored to ensure that an in-custody defendant's


statements to law enforcement result from free choice and voluntary waiver of Fifth Amendment


rights. Miranda v. Arizona, 384 U.S. 436, 444 (1966). In custodial interrogations, police must


inform suspects of their Miranda rights before questioning may begin. Id If police fail to do so,


the prosecution may not use any of the suspect's statements from the interrogation. Id.


       After receiving the Miranda warnings, a suspect may choose to waive those rights. Id But


the waiver must be knowing, voluntary, and intelligent. Id. "[A] valid waiver will not be presumed


simply from the silence of the accused after warnings are given or simply from the fact that a


confession was . . . eventually obtained." IcL at 475. In Edwards v. Arizona, the Supreme Court


added a second layer of prophylaxis. 451 U.S. 477, 484-85 (1981). To prevent police from


pressing suspects into waiving their Miranda rights, the Court held that a valid waiver cannot be


established by showing that a suspect continued to respond to police questioning after invoking


the right to have an attorney present. Id. at 484. Once a suspect invokes the right to counsel,


questioning must altogether cease until an attorney has been made available or until the suspect


"himself initiates further communication, exchanges, or conversations with police." Id. at 484.
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        1. Miranda Right to Counsel


        Whipple moved to suppress the May 29, 2022 interview with Kettell, arguing that Kettell

 violated his Fifth Amendment right to remain silent by continuing to question him after he asked

 Kettell, "Can I talk to you now and then like later have a lawyer come?" which he claims invoked


 his right to counsel under Miranda. The Report and Recommendation disagreed. Whipple objects


 to that conclusion.


        As stated above, once a suspect invokes the Miranda right to counsel, Edwards requires


 police to cease questioning the suspect "until a lawyer has been made available or the suspect


 himself reinitiates conversation" with police. Davis v. United States, 512 U.S. 452, 458 (1994)


 (citing Edwards, 451 U.S. at 484-85. Yet Edwards only applies if a suspect "actually invokedhis


 right to counsel." Davis, 512 U.S. at 458. Whether a suspect has indeed invoked that right is an


 objective inquiry: a "suspect must unambiguously request counsel." Id. at 459. As the Supreme


 Court stated in Davis, "a statement either is such an assertion of the right to counsel or it is not."


 Id. (citation omitted). When a suspect's reference to an attorney is "ambiguous or equivocal,"


 meaning "the suspect might be invoking the right to counsel," Edwards "do[es] not require the


 cessation of questioning." Id. Therefore, the question becomes whether Whipple had articulated


 his "desire to have counsel present sufficiently clearly that a reasonable police officer in the


 circumstances would understand the statement to be a request for an attorney." Id.


        This Court agrees with the Report and Recommendation; Whipple's question to Kettell


 asking, "Can I talk to you now and then like later have a lawyer come?" was not an unambiguous


 or unequivocal request for counsel that would have required Kettell to cease questioning under


 Edwards. As the Supreme Court stated in Davis, a statement either asserts the right to counsel or


 it does not. 512 U.S. at 459. Whipple's question does not. Whipple's reference to obtaining a




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 lawyer later is ambiguous, and law enforcement need not stop an interrogation based on a reference


 that is ambiguous or equivocal. Id.at 459-60. Nor is law enforcement under an obligation to seek


 clarification from a suspect who makes an ambiguous reference to counsel. Id. at 460-62


 (declining "to adopt a mle requiring officers to ask clarifying questions"). On the evidence here,


 an officer faced with the same circumstances as Kettell reasonably could have understood


 Whipple's statement to be an inquiry about his ability to have a lawyer at some future time, rather


 than a clear and present invocation of his right.


        Whipple contends, however, that two prior cases from this Court—United States v. Ziegler,


 3:17-CR-30074,2017 WL 6613404 (D.S.D. Nov. 29,2017) and United States v. Smith, No. 3:07-


 CR-30097, 2008 WL 650450 (D.S.D. Feb. 15, 2008)—support his claim that he unequivocally

 invoked his right to counsel. His reliance on these cases is misplaced. Unlike here, the defendant


 in Ziegler made an unambiguous statement that he cannot talk without a lawyer present, and the


 arresting officer reasonably understood that as an invocation of his right to counsel. 2017 WL


 6613404, *1, 4-5. In Ziegler, police conducted a traffic stop of a homicide suspect. Id at *1.


 During the traffic stop, police began asking questions about the homicide. In response, the


 defendant stated, "I can't even talk to you guys without a lawyer." Id. The defendant was then


 arrested for DUI. Id. The next day, an FBI special agent interviewed the defendant at the jail.


 Before the interview, officers informed the special agent that the defendant had invoked his right

 to counsel. Id. The special agent assumed the defendant's invocation pertained only to the DUI


 and not to the homicide, so the agent proceeded with the interview, which resulted in the defendant


 making inculpatory statements. Id. Magistrate Judge Moreno recommended that the defendant's


 interview with the special agent be suppressed because the arresting officers understood the


 defendant to have invoked his right to counsel and communicated that information to the special




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 agent. Id. at *4-5. By reinitiating a custodial interrogation without counsel present, the special


 agent violated Edwards's Fifth Amendment protections. See idL at 2-3. After neither party


 objected to the Report and Recommendation, this Court reviewed it for clear error, found none,


 and adopted it. United States v. Zieeler, 3:17-CR-30074, 2017 WL 6558583 (D.S.D. Dec. 22,


 2017).

          Whipple's reliance on Smith is just as unavailing. In Smith, the defendant was arrested for


 attempt to commit sexual assault. 2008 WL 650450, * 1.1 Officers read the defendant his Miranda


 rights in route to the police station but did not ask him any questions. Id. at *2. Once in the


 booking area, the defendant was again read his Miranda rights from an advice of rights form. Id


 The defendant initialed each of the rights on the form and signed a waiver of rights. Id. The

 defendant was then placed in a jail cell. Id. After more than 10 hours, two law enforcement


 officers met with the defendant. Id. After the officers introduced themselves, the defendant stated,


 "Can I get a lawyer here?" Id. One of the agents answered, "Sure you can." Id. Rather than stop


 the interrogation, the officers re-Mirandized the defendant and proceeded to ask him questions.


 Id In a Report and Recommendation, Magistrate Judge Moreno recommended this Court grant


 the defendant's motion to suppress because his statement to police, "Can I get a lawyer here?" was


 very similar to the request "Can I have a lawyer?," which other courts have found to be an


 unequivocal invocation of the right to counsel. Id at 4. See, e.g.. United States v. Lee, 413 F.3d


 622,625-26 (7th Cir. 2005). Cf Dormire v. Wilkinson, 249 F.3d 801, 805 (8th Cir. 2001) (holding

 that "Could I call my lawyer?" was not an unambiguous request for counsel). Unlike Smith's


 statement "Can I get a lawyer here?," Whipple's statement, and its surrounding circumstances,




 ' The Smith decision Whipple cites is a Report and Recommendation that was denied as moot after
 the defendant pleaded guilty. Accordingly, this Court never adopted its conclusions or reviewed
 its merits. Thus, it is not bound by its conclusion.

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 lacked the clear implication of a present desire to consult counsel that is characteristic of an


 unequivocal request for counsel.


        2. Voluntary Waiver of Miranda


        Next, Whipple objects to the Report and Recommendation's conclusion that he knowingly,


 voluntarily, and intelligently waived his Miranda rights. Doc. 47 at 9. It is undisputed that Kettell

 advised Whipple of his Miranda rights before questioning and that Whipple waived his Miranda

 rights by signing the waiver of rights portion of the advice of rights form. Ex. 12 at 3, 5-6; Ex. 6.


 The issue here is whether his waiver was "knowing, voluntary, and intelligent." Thai v. Mapes,


 412 F.3d 970, 977 (8th Cir. 2005).

        A waiver is 'knowing and intelligent' where it is made with full awareness of both
        the nature of the right being abandoned and the consequences of abandoning the
        right, and a waiver is 'voluntary' where the court can determine that the waiver was
        a product of the suspect's free and deliberate choice, and not the product of
        intimidation, coercion, or deception.


 I(L (citing Moran v. Burbine, 475 U.S. 412, 421 (1986)). That is, the inquiry over whether a

 suspect's waiver of his Miranda rights was valid has "two distinct dimensions":


        First, the waiver 'must have been voluntary in the sense that it was the product of a
        free and deliberate choice rather than intimidation, coercion, or deception.' Second,
        the suspect must have waived his rights 'with a full awareness of both the nature of
        the right being abandoned and the consequences of the decision to abandon it.'


 United States v. Vinton, 631 F.3d 476, 483 (8th Cir. 2011) (internal citations omitted) (quoting

 Moran, 475 U.S. at 421). Courts consider the totality of the circumstances when determining


 whether a suspect's waiver is valid. Id.


        The evidentiary hearing and the recording ofKettell's interview ofWhipple provide ample

 proof that Whipple's waiver of his Miranda rights was voluntary. The tone and overall atmosphere


 of the reading of the Miranda warnings and the subsequent interview was not hostile or coercive.




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 Id. Whipple faced neither promises nor the exertion of undue influence, pressure, or threats. Id.;


 see Ex. 11. The interview lasted only about 37 minutes. See Ex. 10.


        Nor does the evidence suggest that Whipple waived his Miranda rights unknowingly or

 unintelligently. "The Constitution does not require that a criminal suspect know and understand


 every possible consequence of a waiver" for it to be knowing and intelligent. Colorado v. Spring,


 479 U.S. 564, 574 (1987). Rather, "[t]he Miranda warnings ensure that a waiver ... is knowing


 and intelligent by requiring that the suspect be fully advised" as to what those rights are. Id. Once


 a suspect has been advised of his Miranda rights, and the consequences of abandoning those rights


 (for example, being advised that what you say can and will be used against you in court), the later


 waiver of them will be considered knowing and intelligent. Moran, 475 U.S. at 422-23; see also


 United States v. Garlewicz, 493 F.3d 933, 936 (8th Cir. 2007) (citation omitted) (discussing

 defendant's waiver of his Miranda rights but referencing the Sixth Amendment right to counsel).


 At the time of the interview, Whipple was 18 years old with an eleventh-grade education. See


 United States v. Makes Room for Them, 49 F.3d 410, 415 (8th Cir. 1995) (holding defendant's

 waiver valid even though defendant had a "lower than average intelligence with only an eighth


 grade education"). He expressed no issues speaking or understanding the English language and


 appeared to understand all ofKettell's questions. Indeed, throughout the interview, he provided


 appropriate and comprehensible responses to all questions. When asked whether his injuries


 would impact his ability to talk with Kettell, Whipple ensured they would not, indicating that he

 was under no physical or mental impairment. Ex. 11 at 3.


        Kettell then read Whipple the advice of rights form point-by-point, asked him several times


 whether he had any questions, and told him to initial next to each right only if he understood them.


 Ex. 11 at 3; ST at 35. When Whipple expressed concern about not knowing "much" about his




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 rights, Kettell redirected him to the advice of rights form and offered to read them again, but


 Whipple responded, "I can do it." Ex. 11 at 5. Whipple proceeded to initial the advice of rights


 form next to each right, indicating he understood them. Ex. 6; ST at 37. He then read out loud a


 paragraph pertaining to the waiver of his rights, which he also signed, expressing his willingness


 to answer questions without a lawyer present. Ex. 11 at 6; Ex. 3 at 19. At no point during the


 interview, which was recorded and which this Court has reviewed, did Whipple sound confused


 or unable to understand what Kettell was asking him. Ex. 10. Based on the totality of the


 circumstances, Whipple's waiver of his Miranda rights was knowing, intelligent, and resulted from


 a free and deliberate choice.


        C. Voluntariness of Statement


        "Cases in which a defendant can make a colorable argument that a self-incriminatmg


 statement was 'compelled' despite the fact that the law enforcement authorities adhered to the


 dictates of Miranda are rare." Vinton, 631 F.3d at 483-84 (quoting Berkemer v. McCarty, 468


 U.S. 420, 433 n.20 (1984)). Still, Whipple contends that Kettell's conduct during the interview,

 when combined with Whipple's physical condition, resulted in an involuntary statement.


        "A statement is involuntary when it was extracted by threats, violence, or express or


 implied promises sufficient to overbear the defendant's will and critically impair his capacity for

 self-determination." United States v. LeBrun, 363 F.3d 715,724 (8th Cir. 2004) (citation omitted).


 The same analysis for whether a defendant's waiver of his Miranda rights was voluntary applies


 to determine the voluntariness of a defendant's statement under the Fifth Amendment. Makes


 Room for Them, 49 F.3d at 414 ("We review waivers of both [Miranda rights and the Fifth

 Amendment] under the same standard."). This Court has already concluded that the overall


 atmosphere of the interview was not hostile or coercive and that there is no evidence Kettell




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threatened or intimidated Whipple. And Kettell's responses to Whipple's question about calling


his dad or having a lawyer come later does not alter this conclusion.


         In any event, "[t]he mere fact that an officer may have elicited a confession through a


variety of tactics, including claiming not to believe a suspect's explanations, making false


promises, playing on a suspect's emotions, using his respect for his family against him, deceiving


 the suspect, conveying sympathy, and even using raised voices, does not render a confession


 involuntary unless the overall impact of the interrogation caused the defendant's will to be


 overborne." United States v. Boslau, 632 F.3d 422, 428-29 (8th Cir. 2011) (citations and internal


 quotation marks omitted); see also United States v. Aldridge, 664 F.3d 705, 713 (8th Cir. 2011)

 (police-dominated atmosphere and use of deceptive interview tactics "not enough" to show that


 the defendant's statement was involuntary); United States v. Leon Guerrero, 847 F.2d 1363,1366


 n.l (9th Cir. 1988) (noting that "[i]fthe test was whether a statement would have been made but

 for the law enforcement conduct, virtually no statement would be deemed voluntary because few


 people give incriminating statements in the absence of some kind of official action"). Based on


 the circumstances of this case and Eighth Circuit precedent, this Court concludes that Whipple's


 will was not overborne and his statements were voluntary.


         Based on the above analysis, the Report and Recommendation, and all the files, records,


 and proceedings relevant hereto, it is hereby


         ORDERED that Defendant Jiles Whipple's objections to the Report and Recommendation,

 Doc. 47, are overruled and the October 5, 2023 Report and Recommendation, Doc. 46, is adopted.


 It is further

         ORDERED that Defendant Jiles Whipple's Motion to Suppress, Doc. 27, is denied.




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       DATED this I ^ day of December 2023.

                                        BY THE COURT:


                                        ROBERTO A. LANGE
                                        CHIEF JUDGE




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